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UNITED STA TES DISTRICT COURT F"E'ED 32 ¢§ 1111
WESTERN DISTRICT OF TENNESSEEG 511:'.1“ 11 1151 1: 59
WESTERN DIVISION

 

EDWARD TUCKER JUDGMENT IN A CIVIL CASE
V¢
JEFF PHIPPS CASE NO: 04-2968-D

 

DECISION BY COURT. Tbis action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED AND ADJ'UDGED that in accordance with the Order of

Dismissal entered on April 29, 2005, this cause is hereby
dismissed.

APPRO'VED:

 

TED ST.'A.TES DISTRICT COURT

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wm Hute 58 and/or 79(3) FFICP on 5’/ 73

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-02968 Was distributed by faX, mail, or direct printing on
May ]6, 2005 to the parties listed.

 

Edward Tucker

FAYETTE COUNTY JAIL
P.O. Box 219

Somerville, TN 38068

Honorable Bernice Donald
US DISTRICT COURT

